          Case 3:12-cr-03137-MMA                              Document 311                    Filed 10/22/13          PageID.1660              Page 1 of 3

         "M0245E          (Rev. 12/11) Judgment in a Criminal Case for Organizational Defendants
                          Sheet I



                                                    UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNI13 OCT 22                                                   3: 18
                                                                                                                                               • " ,",: 1 ·c
                            UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRI~AL CASE
                                                  v.                                                (For Organizational Defendants)             t,lu
                         International Trade Consultants, LLC, (09)                                                                              • Dfll[lT Y
                                                                                                              CASE NUMBER: 12CR3137-MMA"

                                                                                                    Marc Xavier Carlos
                                                                                                    Defendant Organization's Attorney

         ~ Modification of Restitution Order (18 U.S.c. § 3664)
         THE DEFENDANT ORGANIZA nON:
         ~ pleaded guilty to count(s) ONE OF THE INDICTMENT

         o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               after a plea of not guilty.
               Accordingly, the defendant organization is adjudged guilty of such count(s), which involve the following offense(s):

                                                                                                                                                 Count
         Title & Section                               Nature of Offense                                                                       NumberCs)
18:371                                    Conspiracy to Defraud the United States and Commit Offenses against the
                                          United States




                 The defendant organization is sentenced as provided in pages 2 through                                    d' this judgment.
         The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
         o    The defendant organization has been found not guilty on count(s)
                                                                                                   -----------------------------------
         ~ Count(s)..;;;R.;;.;e;.;;,;m;;;;;a;;;;;in;;;,;i;;.;ng'"--_ _ _ _ _ _ _ _ _ _ _ __        is D are @ dismissed on the motion of the United States.
         ~ Assessment: $400.00



         ~ Fine ordered waived                                               o Forfeiture pursuant to order filed ----------- , included herein.
                  IT IS ORDERED that the defendant organization shall notify the United States Attorney for this district within 30 days of any
         change of name, principal business address, or mailing address until aU fines, restitution, costs, and special assessments imposed by
         this judgment are fully paid. If ordered to pay restitution, the defendant organization shall notify the court and United States Attorney
         of any material change in the organization's economic circumstances.




                                                                                                     HON. MICHAEL M. ANELLO
                                                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                       12CR3137-MMA
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   AO 245E      (Rev. 12111) Judgment in a Criminal Case for Organizational Defendants
                Sheet 2 - Probation
                                                                                                                   Judgment-Page   2 of 3
    DEFENDANT ORGANIZA nON: International Trade Consultants, LLC, (09)
    CASE NUMBER: 12CR3137-MMA
                                                                           PROBATION
    The defendant organization is hereby sentenced to probation for a tenn of:
    FIVE (05) YEARS

                                                              MANDATORY CONDITION

[!] The defendant organization shall not commit another federal, state or local crime.



                  o   If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant
             organization pay any such fine or restitution.




         o  The defendant organization shall comply with the standard conditions that have been adopted by this court (set forth below).
    The defendant organization shall also comply with the additional conditions on the attached page.




                                                        STANDARD CONDITIONS OF SUPERVISION

       1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to
          act as the orgamzations's representative and to be the primary contact with the probation officer;
       2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the
          probation officer;
       3) the defendant organization shall notifY the probation officer ten days prior to any change in principal business or mailing
          address;
       4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
       5) the defendant organization shall notifY the rrobation officer within seventy-two hours of any criminal prosecution, major civi I
          litigation, or administrative proceeding agamst the organization;
        6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
           judgment and all criminal monetary penalties imposed by this court are eithcr fully satisfied or are equally enforceable against
           the defendant's successors or assignees;
        7) the defendant organization shall not waste, nor without pennission of the probation officer, sell, assign, or transfer its assets.




                                                                                                           12CR3137-MMA
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AO 245S     Judgment in Criminal Case
            Sheet S- Criminal MonetaJy Penalties

                                                                                                     Judgment -- Page    3      of        3
 DEFENDANT: International Trade Consultants, LLC, (09)                                        II
 CASE NUMBER: 12CR3137-MMA

                                                         RESTITUTION

The defendant shall pay restitution in the amount of              $3,763,234.74          unto the United States of America.




          This sum shall be paid __ immediately.
                                  )C as follows:
           Defendant shall pay restitution through the Inmate Responsibility Program at the rate of 50% of the Defendant's income,
           or $25.00 per quarter, whichever is greater. Defendant shall then pay restitution during his supervised release period to
           the California Board of Equalization at the rate of $200 per month. After Defendant has completed these payments to the
           California Board of Equalization, he shall pay restitution to the United States Customs and Border Protection at the rate of
           $200 per month. See restitution order filed on 10/15/2013.

           California Board of Equalization                                  $1,720,381.50
           Attn: Cashier Unit
           P.O. Box 942879
           Sacramento, CA 94279-0001

           United States Customs and Border Protection                       $1,990,501.17
           National Finance Center
           Attn: Revenue Division (Restitutions)
           6650 Telecom Drive
           Indianapolis, IN 46278

           United States Customs and Border Protection                       $52,352.07
           National Finance Center
           Attn: Revenue Division (Restitutions)
           6650 Telecom Drive
           Indianapolis, IN 46278


      The Court has determined that the defendant      does          have the ability to pay interest. It is ordered that:

             The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    12CR3137-MMA
